

People v Branchcomb (2023 NY Slip Op 51061(U))



[*1]


People v Branchcomb (Blake)


2023 NY Slip Op 51061(U)


Decided on October 11, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on October 11, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Brigantti, J.P., Tisch, Michael, JJ.



570413/17

The People of the State of New York, Respondent, 
againstBlake Branchcomb, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (John DeLury, J.H.O.), rendered April 25, 2017, convicting him, upon a plea of guilty, of violating Public Health Law § 229, and imposing sentence.




Per Curiam.
Judgment of conviction (John DeLury, J.H.O.), rendered April 25, 2017, reversed, on the law, accusatory instrument dismissed, and fine, if paid, remitted.
The record fails to support the conclusion that defendant's guilty plea was knowing, intelligent and voluntary. The court did not ask defendant any questions during the plea proceeding and defendant did not speak; nor did the court confirm that defendant discussed the plea with counsel (see People v Conceicao, 26 NY3d 375, 383-85 [2015]; People v Tyrell, 22 NY3d 359, 365-366 [2013]). Given the relatively minor nature of the offense here charged, we dismiss the accusatory instrument in lieu of remanding the matter (see People v Burwell, 53 NY2d 849, 851 [1981]). In view of the foregoing, we need not reach the remaining issues raised by defendant. 
We note that the People have declined to submit a respondent's brief on this appeal.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: October 11, 2023









